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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KHALID ALDUAIJ,                                )
                                               )
                       Plaintiff,              )       Case No. 2:25 -cv-538
       v.                                      )
                                               )
KRISTI NOEM, et al.                            )
                                               )
                       Defendants.             )

                                    MEMORANDUM ORDER

       Plaintiff Khalid Alduaij has filed this civil action against Kristi Noem, U.S. Secretary of

Homeland Security, and Todd Lyons, the Acting Director of U.S. Immigration and Customs

Enforcement (“ICE”), based on ICE’s termination of Plaintiff’s Student and Exchange Visitor

Information System (“SEVIS”) record. The case has been assigned to the undersigned on the

basis of Plaintiff’s representation that this case is related to Civil Action No. 1:25-cv-103.

       Pursuant to Local Civil Rule 40(D)(2),

       civil actions are deemed related when an action filed relates to property included in
       another action, or involves the same issue of fact, or it grows out of the same transaction
       as another action, or involves the validity or infringement of a patent involved in another
       action[.]
Where, as here, an indication of “relatedness” has been made on the civil cover sheet, “the Clerk

of Court shall assign the case to the same Judge to whom the lower numbered related case is

assigned[.]” LCvR 40(E)(1). That Judge may then “reject the assignment if the Judge determines

that the cases are not related or the assignment does not otherwise promote the convenience of

the parties or witnesses or the just and efficient conduct of the action.” Id.

       Here, it appears that the within civil action is not truly “related” to Civil Action No. 1:25-

cv-103. Although this case raises legal challenges similar to those asserted in Civil Action No.

1:25-cv-103, it does not appear that the two lawsuits involve the same issue of fact or “grow[ ]
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out of the same transaction[.]” LCvR 40(D)(2). In addition, the present assignment does not

otherwise promote the convenience of the parties or witnesses or the just and efficient conduct of

the action. Unlike the plaintiff in Civil Action 1:25-cv-103, the Plaintiff in this case is a resident

of Pittsburgh and was attending college there at the time his SEVIS record was terminated.

Further, it appears the stated basis for that termination may differ from that which is at issue in

Civil Action 1:25-cv-103.

       Accordingly, IT IS ORDERED, this 23rd day of April, 2025, that the assignment of the

within case to the undersigned is rejected, inasmuch as the within case is not related to Civil

Action No. 1:25-cv-103, and/or the assignment does not otherwise promote the convenience of

the parties or witnesses or the just and efficient conduct of the action. LCvR 40(E)(1).




                                                       _______________________
                                                       Susan Paradise Baxter
                                                       United States District Judge
